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    1                 IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
    2
        Civil Action Number 15-cv-02507-JLK
    3   _______________________________________________________

    4   VIDEOTAPE DEPOSITION OF:  KYLE JEFFERY SCHWARK
                                  December 13, 2016
    5   _______________________________________________________

    6   KYLE JEFFERY SCHWARK,

    7   Plaintiff,

    8   v.

    9   SHERIFF FRED WEGENER, in his official and individual
        capacities; NURSE SUSAN CANTERBURY, in her individual
  10    capacity; NURSE JERI SWANN, in her individual capacity;
        NURSE CATHLENE PEARCE, in her individual capacity;
  11    DOCTOR KATHERINE FITTING, in her individual capacity,

  12    Defendants.
        ______________________________________________________
  13
                     PURSUANT TO NOTICE, the deposition of KYLE
  14    JEFFERY SCHWARK was taken on behalf of the Defendant
        Dr. Fitting at 821 17th Street, Suite 500, Denver,
  15    Colorado 80202, on December 13, 2016, at 9:26 a.m.,
        before Rory L. Joyner, Certified Realtime Reporter,
  16    Registered Professional Reporter, and Notary Public
        within Colorado.
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  25      Hunter + Geist, Inc.
                                                                                                               Exhibit D
             303.832.5966          1900 Grant Street, Suite 1025              www.huntergeist.com
             800.525.8490          Denver, CO 80203                           scheduling@huntergeist.com


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     Case 1:15-cv-02507-JLK Document 65-4 Filed 05/08/17 USDC Colorado Page 2 of 2
                                       KYLE JEFFERY SCHWARK - 12/13/2016
                                 Kyle Jeffery Schwark v. Sheriff Fred Wegener, et al.

                                                                  141                                                                       143
14:02:46    1   get some orientation as to what you're talking about.     14:08:19    1   correct?
14:02:51    2         A. I don't really -- the layout of that             14:08:20    2         A. Yeah.
14:02:55    3   building -- all I was concerned about was basically       14:08:20    3         Q. And you've written "bunks" on that bed?
14:02:58    4   dying. It was a two-tiered place. Upstairs was the        14:08:23    4         A. Right. And those were the toilets right
14:03:03    5   sleep area; down below was tables where you would eat     14:08:25    5   there. There was two toilets in there. I remember
14:03:06    6   and a television, I guess. And yeah. I mean, I can        14:08:29    6   that.
14:03:11    7   try to --                                                 14:08:29    7         Q. And then you said there was a door that
14:03:12    8         Q. Here. I can give you a pen too.                  14:08:31    8   came into F Pod, and that was on the first floor over
14:03:19    9             MR. McNULTY: To clarify, you're asking          14:08:34    9   on the right side of your diagram; is that correct?
14:03:20   10   him to draw his room; is that correct?                    14:08:38   10         A. Yeah. Like I said, my direction on which
14:03:24   11             MR. MICHALEK: The F Pod.                        14:08:41   11   when you came down the stairs, where it was, but the
14:03:24   12             MR. McNULTY: The whole pod itself?              14:08:45   12   door where they would come in. I think there was a
14:03:24   13             MR. MICHALEK: Yeah.                             14:08:49   13   phone -- there was a phone there, and somewhere there
14:03:27   14         A. Can't we just get a -- the actual                14:08:52   14   was a box for the kites and stuff. This is where the
14:03:28   15   schematic or whatever of the jail that shows the pod?     14:08:56   15   guards would come. So I spent most of my time close to
14:03:32   16             MR. MICHALEK: We can request that from          14:09:04   16   the door as I could, just seated, so as not to miss
14:03:33   17   those folks, but this is my one chance to talk to you.    14:09:09   17   anyone that came to the door or -- and to frequently
14:03:36   18   So I just want to --                                      14:09:16   18   use the intercom and --
14:03:38   19         A. I mean, you want to see how well I               14:09:19   19         Q. Okay.
14:03:39   20   remember the layout of the pod?                           14:09:20   20         A. Yeah. I mean, literally just kept -- I
14:03:41   21         Q. (BY MR. MICHALEK) Well, I'm just trying          14:09:27   21   made the best effort I could to get someone to address
14:03:42   22   to get an understanding of what you're describing for     14:09:29   22   my issue.
14:03:45   23   me when you say, like, your cot was here but you were     14:09:30   23         Q. Okay.
14:03:48   24   sitting by the door and waiting. So if you could          14:09:31   24         A. And again, these guards would come, tell
14:03:51   25   diagram that for me, that would be helpful.               14:09:34   25   me, I'm going to go look into it, and it would become a


                                                                  142                                                                       144
14:03:55    1         A. I just -- I don't understand the relevance       14:09:37    1   shift change. And then I would start over again with
14:03:56    2   of this. But . . . I don't really -- I don't know how     14:09:42    2   another shift, telling someone who had no idea what I
14:07:25    3   to describe for you what's there.                         14:09:45    3   was talking about what's going on and the relevance of
14:07:27    4         Q. So I'm just going to stand up so you can         14:09:47    4   it. And all the time slipping away, physically and
14:07:27    5   sort of describe, and I'll have the videographer see if   14:09:52    5   mentally.
14:07:30    6   he can focus on it.                                       14:09:52    6         Q. Now, I take it -- I'm sorry. Now, I take
14:07:31    7            (Deposition Exhibit 4 was marked.)               14:09:55    7   it you took your medications as prescribed on the 12th
14:07:32    8         Q. So tell me, sir, what you've drawn. And I        14:09:58    8   before you went into the jail, correct?
14:07:35    9   understand you're not an artist. I'm just trying to       14:10:01    9         A. Yeah. Now, I had a hard time keeping
14:07:38   10   get an orientation.                                       14:10:03   10   things down, so I don't know if I got an appropriate
14:07:41   11         A. Well, this would be the first floor. This        14:10:06   11   dose in, but --
14:07:44   12   would be the common area. Okay. I don't know north,       14:10:07   12         Q. But you at least took them as ordered,
14:07:46   13   south, east, or west. And I think upstairs, I think       14:10:08   13   right?
14:07:50   14   there was -- three-quarters of the way around, there      14:10:09   14         A. Yes, I had been taking them.
14:07:53   15   was the sleeping quarters. This would be the one I was    14:10:12   15         Q. Okay. And then the 14th, you said you
14:07:56   16   in, and I think it had -- these were double --            14:10:14   16   were sitting on the seats by the tables closest to the
14:08:00   17         Q. So when you came up to the --                    14:10:18   17   door, correct?
14:08:01   18         A. -- double cots or bunks. And . . .               14:10:19   18         A. Um-hum.
14:08:06   19         Q. So which one were you in? I'm sorry?             14:10:19   19         Q. Is that "yes"?
14:08:09   20         A. Which cot?                                       14:10:21   20         A. Yes.
14:08:10   21         Q. Yes.                                             14:10:21   21         Q. Okay. And then do you recall what
14:08:11   22         A. I think it would have been the bottom one        14:10:25   22   happened on the 14th related to your seizure? Tell me
14:08:13   23   right here.                                               14:10:32   23   what you remember.
14:08:14   24         Q. So as you come up to the stairs straight         14:10:36   24         A. One of the last things I remember was a
14:08:16   25   ahead and the back, you were on the bottom bunk,          14:10:39   25   female guard coming there. And I waited until everyone


                                                                                                                     36 (Pages 141 to 144)

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